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    8                                        U.S. DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
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   10    HOLLYNN D’LIL,                                 CASE NO. C-02-9506 DSF (VBKx)
                                                        Civil Rights
   11           Plaintiff,
   12    v.                                             ORDER & JUDGMENT AWARDING
                                                        PLAINTIFF REASONABLE
   13    BEST WESTERN ENCINA LODGE &                    STATUTORY ATTORNEY'S FEES,
         SUITES, et al.,                                LITIGATION EXPENSES AND COSTS
   14
                Defendants.                             [Fed Rules Civ. Proc., Rule 54]
   15
   16
                                                   /
   17
   18           IN ACCORDANCE WITH THE COURT’S ORDER dated April 14, 2010

   19    Granting       In    Part     Plaintiff’s       Motion   For    Attorney’s     Fees,

   20    Litigation Expenses And Costs,

   21           The     Court      hereby     awards     plaintiff     $354,895.27     as       her

   22    counsel’s         reasonable        statutory    attorney’s     fees,   litigation

   23    expenses and costs.

   24           Counsel       for    plaintiff     requested      that   a   multiplier         be

   25    awarded      on     the    attorney    fees     sought   in   the   motion.        That

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   28
         Order & Judgment Re Fees & Costs:                                                  1
         Case No. C-02-9506 DSF (VBKx)
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    1    request is denied.

    2           SO ORDERED AND JUDGMENT IS ENTERED ACCORDINGLY.

    3                   4/23/10

    4    Dated:                        , 2010

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                                                HON. DALE S. FISCHER
    6                                           U.S. DISTRICT JUDGE

    7
    8    APPROVED AS TO FORM:

    9
   10    Dated:                        , 2010   JEFFREY H. BARABAN, ESQ.
                                                JAMES S. LINK, ESQ.
   11                                           BARABAN & TESKE
   12
   13
   14                                           By Attorneys for Defendants
                                                BEST WESTERN ENCINA LODGE &
   15                                           SUITES; ENCINA-PEPPER TREE, LTD.;
                                                CECILIA E. VILLINES; DAVID Z.
   16
                                                WEBBER; and JEANETTE WEBBER
   17
   18    Dated:______________, 2010             JEFFER, MANGELS, BUTLER
                                                     & MARMARO LLP
   19                                           MARTIN H. ORLICK, ESQ.
   20
   21
   22                                           By Attorneys for Defendants
                                                BEST WESTERN ENCINA LODGE &
   23                                           SUITES; ENCINA-PEPPER TREE, LTD.;
                                                CECILIA E. VILLINES; DAVID Z.
   24                                           WEBBER; and JEANETTE WEBBER
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         Order & Judgment Re Fees & Costs:                                   2
         Case No. C-02-9506 DSF (VBKx)
